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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION



  MELANIE E. DAMIAN, as                        Case No.:
  Receiver for the Receivership
  Estate of WE THE PEOPLE,
  INC. OF THE UNITED STATES,

                        Plaintiff,

                        v.

  Orville E. Thompson, individually,
  and Colorado Legacy Advisors, Inc.,
  a Colorado corporation,

                        Defendants.

  _______________________________/

                                           COMPLAINT

         Plaintiff, Melanie E. Damian, in her capacity as the Court-appointed Receiver (the

  "Receiver" or “Plaintiff”) of the Receivership Estate of We The People Inc. of The United States,

  (the “Receivership Estate”), files this Complaint alleging claims for unjust enrichment and

  restitution/money had and received against Orville E. Thompson and Colorado Legacy Advisors,

  Inc., (the “Defendants”) and alleges as follows:

                                          THE PARTIES

         1.      The Receiver was appointed by the United States District Court for the Southern

  District of Florida pursuant to the Court’s Order Appointing Receiver, dated February 8, 2013

  (the “Receivership Order”), in the action styled Securities and Exchange Commission v. We The

  People, Inc. of The United States, Case No. 13-14050-CIV-MARTINEZ (the “Receivership
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  Action”), pending in the United States District Court, Southern District of Florida (the “District

  Court” or “This Court”).

           2.    The Receiver was appointed over the Receivership Estate of We the People, Inc.

  of the United States (“WTP” or “Receivership Defendant”) which is a Massachusetts corporation

  registered under Section 501(c)(3) of the Internal Revenue Code with its principal place of business

  in Tallahassee, Florida.

           3.    In the Receivership Action, venue lies in the United States District Court, Southern

  District of Florida because certain acts and practices committed by WTP and its principals that are

  the subject of the Receivership Action occurred in the Southern District of Florida and certain

  investors in WTP reside in the Southern District of Florida. Further, WTP consented to venue in

  This Court. [Receivership Action, ECF #1 at ¶6].

           4.    Defendant Orville E. Thompson is and was a resident of Colorado at all material

  times.

           5.    Defendant, Colorado Legacy Advisors, Inc. is a Colorado Corporation which has

  and had its principal place of business in Arapahoe County, Colorado at all material times.

           6.    Defendants acted as “Marketing Advisors” for WTP and in this role received

  commissions from WTP in exchange for obtaining investors in investment products offered by

  WTP.

           7.    The commissions that the Defendants received are the funds that are the subject of

  this action that WTP obtained fraudulently from investors and transferred to Defendants. As

  such, WTP conferred a benefit on the Defendants for which the Defendants were unjustly

  enriched.




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                                  JURISDICTION AND VENUE

         8.      This Court has subject matter jurisdiction over the Receivership Action pursuant

  to Sections 20(b) and 22(a) of the Securities Act and Sections 21(d) and (e), and 27 of the

  Exchange Act. This action, which seeks to recover assets of the Receivership Estate, is related to

  the claims in the Receivership Action, over which This Court has original jurisdiction pursuant

  to Title 28, United States Code, Section 1331, in that this action forms “part of the same case or

  controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). Therefore,

  This Court has subject matter jurisdiction over this action pursuant to the principles of ancillary

  or supplemental jurisdiction under Title 28, United States Code, Section 1367 and pursuant to

  Title 28, United States Code, Section 754.

         9.      This Court has personal jurisdiction over the Defendant(s) pursuant to Title 28,

  United States Code, Sections 754 and 1692. The Receiver was appointed in this District; the

  instant Complaint is brought to accomplish the objectives of the Receivership Order and the

  assets of the Receivership Estate are located in multiple districts. The Receiver has filed a copy

  of this Complaint and the Receivership Order in the United States District Court for the District

  of Colorado pursuant to 28 U.S.C. § 754.

         10.     Venue is also proper in the Southern District of Florida pursuant to Title 28,

  United States Code, Sections 754 and 1692, because this action is brought to accomplish the

  objectives of the Receivership Order and is thus ancillary to the Court’s exclusive jurisdiction

  over the Receivership Estate.




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                                      PROCEDURAL BACKGROUND

          11.       On February 4, 2013, the Securities and Exchange Commission (“SEC”) filed a

  complaint (the “SEC Complaint”) against WTP seeking an injunction and damages arising from

  WTP’s Charitable Gift Annuity Investment Offerings which were in violation of the anti-fraud

  provisions and registration provisions of federal securities laws. [Receivership Action, ECF #1].

          12.       Specifically, the SEC Complaint set forth claims against WTP for violations of

  the Securities Act of 1933 and the Securities Exchange Act of 1934 (including Rule 10b-5

  promulgated thereunder) based on the Receivership Defendant’s “false and misleading

  statements made in connection with the offer, sale, and purchase of securities,” i.e., the issuance

  of the Charitable Gift Annuity agreements. Id. at ¶3. That same day, the SEC filed unopposed

  Motions for Judgment [Receivership Action, ECF # 3], and to Appoint a Receiver [Receivership

  Action, ECF # 4.].

          13.       On February 8, 2013, the Court entered the Judgment as to Defendant We the

  People, Inc. of the United States and the Receivership Order, which required the Receiver to

  “assume and control the operations of the Receivership Defendant.” [Receivership Action, ECF

  #7 and ECF #6 at ¶4].          The Receiver has standing to bring this claim pursuant to the

  Receivership Order, which obligates the Receiver “to sue for and collect, recover, receive and

  take into possession from third parties all Receivership Property and records relevant thereto[.]”

  [Id. at ¶6.B.].

          14.       The Receivership Order further provides that the Receiver is authorized, “to

  institute such actions and legal proceedings, for the benefit and on behalf of the Receivership

  Estate…[including] the disgorgement of profits, asset turnover, avoidance of fraudulent




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  transfers, rescission and restitution, collection of debts, and such other relief… as may be

  necessary to enforce the Receivership Order.” Id. at ¶42.

          15.     Based upon information obtained by the Receiver, Defendants received

  commissions from WTP for procuring Charitable Gift Annuities to which Defendants were not

  entitled causing the Defendants to be unjustly enriched.

                         GENERAL ALLEGATIONS COMMON TO ALL COUNTS

          16.     As a result of the SEC investigation into the operations of WTP, the SEC alleged

  in its Complaint filed in the Receivership Action that WTP “defrauded investors by making false

  and misleading statements in connection with the offer, sale, and purchase of securities”

  violating the anti-fraud provisions of federal securities laws and offered and sold securities in

  violation of the registration provisions of the federal securities laws. [Receivership Action, ECF

  #1 at ¶¶1-2].

          17.     The SEC Complaint further alleged that WTP “raised over $75 million in assets

  from approximately 400 investors in over 30 states, almost all of whom are elderly” by enticing

  them to transfer stocks, annuities, real estate, or cash to WTP in exchange for an investment

  product that WTP called a “tax-deductible gift annuity” or “charitable gift annuity” (“CGA”). Id.

          18.     WTP’s marketing and promotional materials for the CGA offering contained

  misrepresentations and omissions of material fact including false statements regarding the value

  of the CGA that investors received in exchange for the assets transferred to WTP and omissions

  regarding the sizable commissions WTP paid to third-party promoters based on the sales of its

  products. Id. at ¶2.

          19.     During the period WTP was issuing and exchanging securities, it claimed to

  operate as a non-profit organization. However, rather than operate as a charity WTP operated for



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  the primary purpose of issuing CGAs. WTP used the proceeds of the CGA offering to pay

  substantial sums to the principles of WTP, third-party promoters and consultants and

  misrepresented the amounts it donated to public charities. Id at ¶14.

         20.     In furtherance of the fraud, WTP utilized third-party Marketing Advisors who

  signed agreements with WTP to procure CGAs from Investors.

         21.     WTP provided the Marketing Advisors with marketing materials containing false

  and misleading statements regarding the CGA offerings, including flyers, letters, illustrations,

  and even videos, to use in soliciting the investments.

         22.     WTP paid the Marketing Advisors significant commissions ranging from 7-10%

  of the cash value of the assets received by WTP in exchange for procuring the CGAs, less the

  cost to WTP of liquidating the assets. The amounts of the commissions paid to the Marketing

  Advisors ranged from approximately $550.00 to $409,000.000.

         23.     The Marketing Advisors who held themselves out to investors as knowledgeable

  financial professionals, knew or should have known that they were not entitled to receive any

  commissions for procuring the CGAs because it is not in conformity with industry standards and

  moreover, a violation of federal law for WTP to pay commissions based on the value of CGAs.

         24.     The Model Standards of Practice for the Charitable Gift Planner which were

  adopted by the National Committee on Planned Giving and the American Council on Gift

  Annuities provide that “commissions paid as a condition for delivery of a gift are inappropriate.”

         25.     Moreover, the Philanthropy Protection Act of 1995 prohibits the payment of

  commissions or remuneration to anyone based on the value of a charitable gift annuity given to a

  public charity. Philanthropy Act § 4(b) codifies at 15 U.S.C. §78c(e)(2)).




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         26.     The Defendants in the instant action were Marketing Advisors for WTP who

  received commissions from WTP for procuring CGAs on WTP’s behalf based on the value of

  the CGAs procured.

         27.     Because the Defendants were prohibited by law from receiving commissions for

  procuring CGAs on behalf of WTP based on the value of the CGAs, the marketing agreement

  entered into by the Defendants with WTP (the “Marketing Advisor Agreement”) which entitled

  the Defendants to receive commissions of 7% of the “Net Contribution” 1 to WTP was void.

         28.     All conditions precedent to filing this Complaint have occurred, been satisfied

  and/or performed by the Plaintiff, or have been waived and/or otherwise been excused.

         29.     This action is brought within the pertinent statutory limitations period.

         30.     The Plaintiff has retained the undersigned law firm to represent her in this action

  and is obligated to pay them reasonable attorneys’ fees and costs for their services.

                                             THE TRANSFERS

         31.     WTP made transfers directly to the Defendants constituting payment of

  commissions (the “Transfers”).

         32.     The Transfers originated from one or more of the WTP bank accounts.

         33.     The Transfers from WTP to the Defendants total $99,692.55 and are reflected in

  Exhibits “B” and “C” attached hereto 2 and incorporated, by reference, herein.




  1
   The Net Contribution was defined as “the value of assets as received by WTP in a form that can
  be immediately converted to cash by WTP, less costs incurred by WTP in liquidating the
  Assets.” See Marketing Advisor Agreement attached hereto as Exhibit A.
  2
   Exhibit B is a summary of the Transfers. Exhibit C includes copies of canceled checks and
  direct deposit receipts in relation to the transfers.
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                      COUNT I-UNJUST ENRICHMENT AGAINST DEFENDANTS

         34.     Plaintiff repeats, re-alleges and incorporates by reference the allegations set forth

  in paragraphs 1-33 of this Complaint as if fully set forth herein.

         35.     WTP conferred a benefit on Defendants when WTP transferred funds constituting

  property of WTP in the amount of $99,692.55 directly to the Defendants as payment for

  commissions.

         36.     The Defendants had knowledge of the benefit being given to them by WTP and

  voluntarily accepted and retained the benefit conferred.

         37.     In addition, the Defendants knew or should have known that they were not

  entitled to receive commissions for procuring a charitable gift annuity based on the value of a

  charitable gift annuity given to a public charity.

         38.     It is inherently unfair and inequitable that the funds of other investors defrauded

  by the WTP’s and its principals’ fraudulent scheme and which the Defendants are not entitled to

  are retained and used to personally benefit the Defendants, rather than being returned to the

  Receivership Estate for the benefit of all of the defrauded investors.

         39.     As a direct and proximate result of the Defendants’ retention of the $99,692.55

  that WTP unlawfully transferred to Defendants, the Receivership Estate has been diminished,

  and, under the circumstances, equity dictates that the Defendants return the funds that were

  received from WTP, and any assets acquired with those funds, to the Receiver for the benefit of

  all of the defrauded investors.

         WHEREFORE, the Plaintiff respectfully requests the Court enter a Judgment:

                 a.      Declaring the Defendants unjustly enriched by virtue of receipt of the

  Transfers;



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                 b.      Requiring the Defendants to pay the Transfers to the Receiver; and, if

  necessary, imposing a constructive trust and/or equitable lien on the funds or other assets

  traceable to such transfers; and

                 c.      Awarding the Plaintiff damages, costs, and interest; and

                 d.      Granting such other and further relief as may be just and proper.

           COUNT II– RESTITUTION/MONEY HAD AND RECEIVED AGAINST
                                DEFENDANTS

         40.     Plaintiff repeats and re-alleges and incorporates by reference the allegations set

  forth in paragraphs 1 through 33 of this Complaint as if fully set forth herein.

         41.     WTP conferred a benefit on the Defendants when it transferred funds constituting

  property of WTP in the amount of $99,692.55 directly to the Defendants as payment for

  commissions.

         42.     The Defendants received the benefit of the funds given to them by WTP and

  voluntarily accepted and retained the benefit conferred to which Defendants were not entitled.

         43.     Equity and good conscience dictates that the Defendants should return and repay

  the funds received and any assets they may have acquired with those funds, to the Receiver for

  the benefit of all of the defrauded investors.

         WHEREFORE, the Plaintiff respectfully requests the Court enter a Judgment:

                 a.      Ordering the Defendants to make restitution to the Receivership Estate;

                 b.      Requiring the Defendants to pay the Transfers to the Receiver; and, if

  necessary, imposing a constructive trust and/or equitable lien on the funds or other assets

  traceable to such transfers; and

                 c.      Awarding the Plaintiff damages, costs, and interest; and

                 d.      Granting such other and further relief as may be just and prop

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        Respectfully submitted this 17th day of December, 2013.

                                          By: /s/ Kenneth Dante Murena
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                     SUMMARY OF TRANSFERS TO ORVILLE E. THOMPSON AND
                             COLORADO LEGACY ADVISORS, INC.
                                              Last Four Digits of Bank
 Transferor       Transferee     Check Date                              Check Number   Amount
                                                      Account
We the People,    Orville E.
                                 12/30/2009    Wachovia Bank #0124           1447       $8,353.49
     Inc.         Thompson
We the People,    Orville E.
                                 1/11/2010     Wachovia Bank #0124           ----       $5,155.25
     Inc.         Thompson
We the People,    Orville E.
                                 1/22/2010     Wachovia Bank #0124           ----       $7,835.56
     Inc.         Thompson
We the People,    Orville E.
                                  3/5/2010     Wachovia Bank #0124           1504       $4,889.33
     Inc.         Thompson
We the People,    Orville E.
                                 3/15/2010     Wachovia Bank #0124           1511       $3,263.53
     Inc.         Thompson
We the People,    Orville E.
                                 3/26/2010     Wachovia Bank #0124           ----       $871.12
     Inc.         Thompson
We the People,    Orville E.
                                  4/9/2010     Wachovia Bank #0124           1534       $8,064.00
     Inc.         Thompson
We the People,    Orville E.
                                 4/15/2010     Wachovia Bank #0124           1539       $2,559.16
     Inc.         Thompson
We the People,    Orville E.
                                 6/16/2010     Wachovia Bank #0124           ----       $1,899.49
     Inc.         Thompson
We the People,    Orville E.
                                 6/30/2010     Wachovia Bank #0124           ----       $1,378.58
     Inc.         Thompson
We the People,    Orville E.
                                  7/8/2010     Wachovia Bank #0124           ----       $1,373.10
     Inc.         Thompson
We the People, Colorado Legacy
                                  8/4/2010     Wachovia Bank #0124           ----       $8,390.91
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                 9/27/2010     Wachovia Bank #0124           ----       $4,764.80
     Inc.       Advisors, Inc.



                                                      EXHIBIT B
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We the People, Colorado Legacy
                                 10/4/2010    Wachovia Bank #0124     ----         $3,474.04
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                 10/26/2010   Wachovia Bank #0124     ----         $1,296.07
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                 10/26/2010   Wachovia Bank #0124     ----         $8,261.01
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                 3/16/2011    Wachovia Bank #0124     1970         $3,537.34
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                 5/23/2011    Wachovia Bank #0124     ----         $1,781.64
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                  7/6/2011    Wachovia Bank #0124     ----         $1,313.27
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                 7/26/2011    Wachovia Bank #0124     ----         $1,774.92
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                 11/14/2011   Wachovia Bank #0124     ----         $15,969.26
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                 12/6/2011    Wachovia Bank #0124     ----         $3,053.73
     Inc.       Advisors, Inc.

We the People, Colorado Legacy
                                  2/1/2012    Wachovia Bank #0124     ----          $432.95
     Inc.       Advisors, Inc.
                                                                                   $99,692.55
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                                 Grand Total        $99,692.55
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